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                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF TENNESSEE
______________________________________________________________________________
IN RE:
            DONNA RAY JOHNSON
                  Debtor                              Case No. 18-27004

                                                      Chapter 13
______________________________________________________________________________

               VERIFIED MOTION OF DEBTOR(S) TO IMPOSE STAY
 UNDER SECTION 362(c) AS TO ALL CREDITORS EXPEDITED HEARING REQUESTED
______________________________________________________________________________
      Comes now the Chapter 13 Debtor(s) by and through debtor(s)’s attorney, Juliet Hill-

Akines, and respectfully represents to the Court as follows:

   1. That the Debtor(s) has had the following prior pending Chapter 13 case dismissed within

       the last two years: Case number 17-29235 was filed on October 19, 2017 and dismissed

       on May 1, 2018 for failure to pay and case number 18-24133 was filed on May 16, 2018

       and dismissed on July 12, 2018 due to failure to attend 341 Meeting of Creditors.

   2. That the Debtor has had unforeseen events that have affected her ability to have a

       successful reorganization. The debtor is a widower who became ill and feel behind in her

       financial obligations. The debtor has made every effort to have a successful case,

       however, the debtor was seconds late her meeting of creditors having to depend upon

       transportation from her daughter and as a result was not present when her name was

       called. The debtor further made the excusable mistake of sending her plan payments to

       the wrong trustee and had to wait for those payments to be refunding. Furthermore as a

       result of her dismissal, the debtor had to pay six hundred dollars to MLG&W to maintain

       utility services.
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   3. The debtor can fund this current case since she no longer has to make any additional

       payments directly to MLG&W for past service and under the strain of having to play

       catch-up with old financial obligations.

   4. That paragraph 20 of Schedule J accompanying the Chapter 13 petition signed by the

       Debtor(s) provides:

              Total projected monthly income:        $1694.00

              Total projected monthly expenses:      $910.00

              Monthly net income:                    $784.00

   5. That the proposed plan payment is $751.00 every month to the Chapter 13 trustee.

   6. That the Debtor(s)’ prior Chapter 13 cases were not dismissed because the Debtor failed

       to provide adequate protection ordered by the Court or after the Debtor(s) failed to file or

       amend the petition or other documents as required by the Bankruptcy Code or the

   7. That the Debtor(s)’ prior Chapter 13 cases were not dismissed while an action under

       section 362(d) of the Bankruptcy Code was pending or after such an action had been

       resolved with an order terminating, conditioning, or limiting the automatic stay.

   8. That this petition was filed in good faith as to the creditors to be stayed and the Debtor(s)

       believes he can fully perform the terms of the proposed plan should it be confirmed by

       this Honorable Court.

       WHEREFORE, PREMISES CONSIDERED, your Debtor(s) moves this Court under

       section 362(c)(4) to impose the stay under section 362(a) as to all creditors for the

       duration of this Chapter 13 case or until such time as the stay is terminated, modified, or

       annulled under section 362(d) of the Bankruptcy Code or further order of the Court.

Respectfully Submitted
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/s/Juliet Hill-Akines
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                                 CERTIFICATE OF DEBTOR(S)

Debtor(s) declare under penalty of perjury that debtor(s) read the statements contained in the
foregoing motion and that they are true and correct to the best of debtor(s) knowledge,
information and belief and that debtor(s) are justly entitled to the relief sought.

Date: August , 2018
Debtor: /s/Donna Johnson



                                  CERTIFICATE OF SERVICE
I, Juliet Hill-Akines, do hereby certify that a copy of the foregoing has been sent electronically or
by U.S. mail postage prepaid to all parties on matrix list.

                                                              /s/Juliet Hill-Akines
